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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

ASHLEY KIRCHER                                               )
                                                             )
Plaintiff,                                                   )
                                                             ) Cause No. 4:13-cv-892JAR
v.                                                           )
                                                             )
APELLES, L.L.C.                                              )
                                                             )
                                                             )
         Defendant.                                          )     JURY TRIAL DEMANDED

                            FIRST AMENDED CLASS ACTION PETITION

         COMES NOW, Plaintiff, Ashley Kircher, and for her First Amended Class Action Petition

states as follows:
                                             INTRODUCTION

         1.      Plaintiff demands a jury trial on all issues so triable.

         2.      This is an action for damages brought by an individual consumer on behalf of herself and

all other consumers located in Missouri

Collection Practices Act, 15 U.S.C. § 1692, et seq.                          .

                                              JURISDICTION

         3.      This Court has jurisdiction of the FDCPA claim under 15 USC 1692k(d) because

Defendant is located in, and all collection activity occurred in, Jefferson County, Missouri; Defendants

properly removed Plaintiff s original Petition to this Court after Plaintiff filed it in Jefferson County,

Missouri.

                                                  PARTIES

         4.      Plaintiff is a natural person currently residing in Jefferson County, Missouri. Plaintiff is a



family, and household transactions.



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        5.        Plaintiff maintains and pays monthly charges for a personal cellular telephone with a

telephone number ending with 7882.

        6.        Defendant is a foreign limited liability corporation with its principal place of business in

Columbus, Ohio. The principal business purpose of Defendant is the collection of debts in Missouri and

nationwide, and Defendant regularly attempts to collect debts alleged to be due another.

        7.        Defendant is engaged in the collection of debts from consumers using the mail and

telephone. Defendant is a                                                15 USC 1692a(6).

                                                   FACTS

        8.

twelve (12) months.

        9.

cellular phone.

        10.       After many of its calls, Defendant left Plaintiff a voice message.

        11.       All of Defendant s voice messages were collection communications designed to collect

the debt.

        12.       Defendant did not identify itself as a debt collector or that it was attempting to collect a

debt in the voice messages.

        13.

message is for Ashley Kircher. This is Christine giving you a call back from Apelles. Will you please

return my call, 1-800-825-

        14.       Defendant s phone calls were made to Plaintiff's cellular phone and she was charged for

those phone calls.

        15.                                                                                              aiver

provisions (either with her original creditor or any other party) that could apply to any of her claims

against Defendant.

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        16.

but not limited to cellular telephone charges, anxiety, sleeplessness, and worry.

        17.      If the Court certifies the proposed class, Plaintiff will forego her claim for actual

damages.

                                         CLASS ALLEGATIONS

        18.      Upon information and belief, it is Defendant        routine practice to violate the

FDCPA by leaving telephone messages without identifying itself as a debt collector or that it was

attempting to collect a debt.

        19.      This action is properly maintainable as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure. The two-part class consists of the following persons:

                 a. T                      : all persons with a Missouri postal address owing a

                     consumer debt with whom Defendant left a telephone message in an attempt

                     to collect a debt during the one-year period beginning before the filing of the

                     original Petition in which Defendant did not include in the message: (a) that

                     it was a debt collector; or (b) that the purpose of the call was to collect a

                     debt;

        20.      Members of the class are so numerous that joinder is impracticable. Based on



collector that attempts to collect many hundreds of consumer debts in Missouri.

        21.      Upon information and belief, Defendant has engaged in the improper collection

communications and telephone calls described above with at least hundreds of consumers in

Missouri.

        22.      Plaintiff is a member of the class she seeks to represent.

        23.      There are no unique defenses Defendant can assert against Plaintiff individually, as

distinguished from the class.

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         24.         Plaintiff will assure the adequate representation of all members of the class and will have



typical of the class and are antagonistic to the interests of the Defendant. Plaintiff has no interest or

relationship with the Defendant that would prevent her from litigating this matter fully. Plaintiff is aware

that settlement of a class action is subject to court approval and she will vigorously pursue the class

claims throughout the course of this action.

         25.         A class action will provide a fair and efficient method to adjudicate this controversy since

the claims of the class members are virtually identical in that they raise the same questions of law and

involve the same methods of collection and telephone contact by the Defendant.

         26.         Most, if not all, the facts needed to determine damages are obtainable from the



         27.         The purposes of the FDCPA will be best effectuated by a class action.

         28.         A class action is superior to other methods for the fair and efficient adjudication of this

controversy.

         29.         Furthermore, as damages suffered by most members of the class are relatively small in

relation to the costs, expense, and burden of litigation, it would be difficult for members of the class

individually to redress the wrongs done to them.

         30.         Many, if not all, class members are unaware that claims exist against the Defendant.

There will be no unusual difficulty in the management of this action as a class action.

         31.         Three common questions of law and fact predominate over all individual questions in this



(2) the liabilitie

under the FDCPA; and (3) whether Defendant identified itself as a debt collector or state that it was

attempting to collect a debt when leaving messages for class members.



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        32.      Because many class members are unaware of their claims and because their claims are

small in relation to the cost of an individual suit, a class action is the only proceeding in which class

members can, as a practical matter, recover.

        33.                                                                                            ly and



interests of the Class.

        34.      All Class members have been damaged in precisely the same fashion, by precisely the

same conduct. The loss suffered by individual Class members is calculable and ascertainable.

             COUNT I: VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT

        35.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

        36.      In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to, the following:

        37.      Failing to identify itself as a debt collector or that it was attempting to collect a debt in

communications with a consumer. 15 U.S.C. § 1692e.

        38.      Causing Plaintiff to incur charges by concealment when Defendant called Plaintiff s

cellular phone and left cryptic messages that failed to adequately identify Defendant as a collector. 15

U.S.C. § 1692d-f.

        39.      Engaging in deceptive, harassing, and unfair conduct in the collection of a debt. 15

U.S.C. § 1692d-f.

        WHEREFORE, Plaintiff respectfully requests that the Court certify the above-proposed FDCPA

class, appoint her as class representative, appoint the undersigned as class counsel, and also requests that

judgment be entered against Defendant for:

        A.       Statutory damages, costs and reasonable a                 pursuant to 15 USC 1692(k);

        B.       In the event that the Court does not certify the proposed classes, actual damages; and

        C.       For such other relief as the Court may deem just and proper.

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                                                     Respectfully submitted,

                                                     /s/ Richard A. Voytas___

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                                                     Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE

       The foregoing document was served on counsel of record listed below on June 27, 2013 via the

Court s ECF system:

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                                                             /s/ Richard A. Voytas, Jr.




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